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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
         WOLLMUTH MAHER & DEUTSCH LLP                                                     Order Filed on February 15, 2022
         Paul R. DeFilippo, Esq.                                                          by Clerk
         500 Fifth Avenue                                                                 U.S. Bankruptcy Court
         New York, New York 10110                                                         District of New Jersey
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com
         JONES DAY
         Gregory M. Gordon, Esq.
         Brad B. Erens, Esq.
         Dan B. Prieto, Esq.
         Amanda Rush, Esq.
         2727 N. Harwood Street
         Dallas, Texas 75201
         Telephone: (214) 220-3939
         Facsimile: (214) 969-5100
         gmgordon@jonesday.com
         bberens@jonesday.com
         dbprieto@jonesday.com
         asrush@jonesday.com
         (Admitted pro hac vice)
         ATTORNEYS FOR DEBTOR
         In re:                                                          Chapter 11

         LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)
                                     Debtor.                             Judge: Michael B. Kaplan



                        ORDER AUTHORIZING RETENTION OF BATES WHITE, LLC

         The relief set forth on the following pages, numbered two (2) through five (5), is hereby
     ORDERED.




DATED: February 15, 2022




     1
                  The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
                  501 George Street, New Brunswick, New Jersey 08933.
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  Case No. 21-30589-MBK
  Caption: Order Authorizing Retention of Bates White, LLC


         Upon the applicant's, LTL Management LLC's (the "Debtor" or "LTL Management"), 2
  request for authorization to retain Bates White, LLC ("Bates White") as talc consultant and
  expert for the Debtor, nunc pro tunc to October 14, 2021 [Dkts. 410, 547] (the "Application"),
  the Court having considered the Supplemental Certification of Charles H. Mullin, PH.D. in
  support of the Application [Dkt. 803] (the "Certification"), the replies in support of the
  Application [Dkts. 810, 1196] and the objection [Dkt. 750] (the "Objection") to the Application
  and having previously entered the Order Authorizing Interim Retention of Bates White, LLC
  [Dkt. 858], and the Objection having been resolved, it is hereby ORDERED:

  1.      The Application is granted as set forth herein.

  2.      Except as otherwise provided in this Order, the Debtor is authorized to retain Bates
          White as set forth in the Application and the documents attached thereto, including, but
          not limited to, the engagement letter attached to the Application as Exhibit A
          (the "Engagement Letter"), effective as of October 14, 2021.

  3.      Any additional services proposed to be provided by Bates White not described in the
          Application and the Engagement Letter shall require further Court approval.

  4.      Bates White shall file monthly, interim and final fee requests for allowance of
          compensation and reimbursement of expenses pursuant to the procedures set forth in
          Sections 330 and 331 of the Bankruptcy Code, applicable Bankruptcy Rules, the Local
          Bankruptcy Rules, the U.S. Trustee Guidelines, and any other applicable procedures and
          orders of this Court, including the Interim Compensation Order; provided, however, that
          if Bates White seeks to redact its time records to protect any privileges asserted it shall
          first apply to the Bankruptcy Court for permission to do so under Section 107 of the
          Bankruptcy Code, with the rights of all parties in interest with respect to any such relief
          fully preserved. The Debtor shall be solely responsible for paying all amounts due under

  2
         Capitalized terms used herein but not defined shall have the meaning given to such terms in the
         Application.
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  Debtor: LTL Management LLC
  Case No. 21-30589-MBK
  Caption: Order Authorizing Retention of Bates White, LLC


         this retention, subject to Court approval. The rights of any party in interest to object to
         any such fee request, and the right of Bates White to respond to any such objection, are
         fully preserved.

  5.     Notwithstanding anything to the contrary in the Application, all parties-in-interest have
         the right to object to any allocation of fees and expenses as between the Debtor and J&J
         and/or any non-Debtor affiliates.

  6.     For the avoidance of doubt, no fees earned and payable to Bates White shall constitute a
         "success fee," "bonus" or "fee enhancement" under applicable law.

  7.     Subject to the terms of the Interim Compensation Order, Bates White is authorized to
         hold the Retainer as security for payment of postpetition fees and expenses. Bates White
         shall not apply any portion of the Retainer to fees and expenses incurred from and after
         the Petition Date unless and until authorized to do so by further order of the Bankruptcy
         Court, including the Interim Compensation Order.

  8.     Notwithstanding any contrary provision of the Engagement Letter including but not
         limited to paragraph 16, the Bankruptcy Court shall have jurisdiction over, hear and
         adjudicate any dispute that may arise under the Engagement Letter among the parties to
         the Engagement Letter during the pendency of the Chapter 11 Case.

  9.     The limitation of liability contained in paragraph 17 of the Engagement Letter is deemed
         to be of no force or effect during the pendency of this Chapter 11 Case with respect to
         the services to be provided pursuant to this Order.

  10.    Paragraph 19 of the Engagement Letter is revised to reflect that termination will only be
         allowed upon entry of an Order by the Bankruptcy Court.

  11.    Paragraphs 9 and 11 of the Engagement Letter are revised to reflect that no interest shall
         accrue on any invoices or payments and that Bates White may not withhold services
         unless upon entry of an Order by the Bankruptcy Court.
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  12.    Paragraph 20 of the Engagement Letter is revised to reflect that the survival of certain
         paragraphs of the Engagement Letter is subject to the revisions contained in this Order.


  13.    Paragraph 15 of the Engagement Letter is revised to reflect that the Bankruptcy Court
         shall hear and adjudicate any disputes arising between Bates White and Jones Day or the
         Debtor during the pendency of the Chapter 11 Case.

  14.    In the event Bates White seeks to use any of its affiliates to perform services for Jones
         Day or the Debtor, the Debtor shall seek the separate retention of any affiliates upon
         notice and a hearing, with the rights of all parties in interest preserved in respect of any
         such request.

  15.    To the extent Bates White uses the services of independent contractors
         (the "Contractors") in the Chapter 11 Case, Bates White shall: (a) pass through the cost
         of such Contractors to the Debtor at the same rate that Bates White pays the Contractors;
         (b) seek reimbursement for actual costs incurred; (c) require the Contractors to file
         Rule 2014 affidavits (copies of which shall be promptly provided to any official
         committee(s) of talc claimants appointed in this Chapter 11 Case (the "Committee"))
         indicating that the Contractors have reviewed the Parties in Interest List in this case,
         disclose the Contractors' relationships, if any, with Parties in Interest List and indicate
         that the Contractors are disinterested; (d) confirm that the Contractors remain
         disinterested during the time that Bates White is involved in providing services to the
         Debtor; (e) require the Contractors to represent that they will not provide services in this
         Chapter 11 Case to the Debtor or other parties in interest during the time Bates White is
         involved in providing services to the Debtor; and (f) Bates White shall attach any such
         Contractor invoices to its monthly fee statements, interim fee applications and/or final
         fee applications filed in this case. The rights of all parties in interest with respect to the
         use of any Contractors (including, without limitation, with respect to whether any
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         Contractor is disinterested) and the payment of any Contractor invoices as set forth
         herein are fully preserved.

  16.    To the extent that any party-in-interest, including the Committee and the U.S. Trustee,
         discovers any facts or circumstances indicating that Bates White's retention under
         section 327(a) of the Bankruptcy Code is not appropriate, the right of any
         party-in-interest, the Committee and the U.S. Trustee to seek at that time any appropriate
         relief is fully preserved.

  17.    If the professional requested a waiver as noted below, it is տ Granted տ Denied.
        տ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.
        տ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a
        chapter 13 case. Payment to the professional may only be made after satisfactory
        completion of services.
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 14
Date Rcvd: Feb 15, 2022                                               Form ID: pdf903                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 17, 2022:
Recip ID                   Recipient Name and Address
db                     +   LTL Management LLC, 501 George Street, New Brunswick, NJ 08933-0001
aty                    +   Glenn M. Kurtz, White & Case LLP, 1221 Avenue of the America, New York, NY 10020-1001
aty                    +   Jessica Lauria, White & Case LLP, 1221 Avenue of the America, New York,, NY 10020-1001
aty                    +   Rayburn, Cooper & Durham, P.A., The Carillon, Suite 1200, 227 West Trade St., Charlotte, NC 28202-1672

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 17, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 15, 2022 at the address(es) listed
below:
Name                               Email Address
Adam C. Silverstein
                                   on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                                   Marketing Sales Practices and Products Liability Multi-District Litigation asilverstein@otterbourg.com,
                                   awilliams@otterbourg.com

Adam C. Silverstein
                                   on behalf of Interested Party Steering Committee in the In re: Johnson & Johnson Talcum Powder Products Marketing Sales
                                   Practices and Products Liability Multi District Litigation asilverstein@otterbourg.com, awilliams@otterbourg.com

Adam S. Ravin
                                   on behalf of Interested Party Imerys Talc Canada Inc. adam.ravin@lw.com

Adam S. Ravin
          Case 21-30589-MBK               Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                               Desc
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District/off: 0312-3                                           User: admin                                                                 Page 2 of 14
Date Rcvd: Feb 15, 2022                                        Form ID: pdf903                                                            Total Noticed: 4
                             on behalf of Interested Party Imerys Talc America Inc. adam.ravin@lw.com

Adam S. Ravin
                             on behalf of Interested Party Imerys Talc Vermont Inc. adam.ravin@lw.com

Alan Buford Felts
                             on behalf of Interested Party Otterbourg P.C afelts@tuggleduggins.com

Alan Buford Felts
                             on behalf of Interested Party Bailey & Glasser LLP afelts@tuggleduggins.com

Alan Buford Felts
                             on behalf of Interested Party Massey & Gail LLP afelts@tuggleduggins.com

Alan Buford Felts
                             on behalf of Interested Party Brown Rudnick LLP afelts@tuggleduggins.com

Alan Buford Felts
                             on behalf of Interested Party Parkins Lee & Rubio LLP afelts@tuggleduggins.com

Alan I. Moldoff
                             on behalf of Creditor Committee Official Committee of Talc Claimants II amoldoff@shermansilverstein.com

Alan J. Brody
                             on behalf of Creditor Bausch Health Companies Inc. f/k/a Valeant Pharmaceuticals International Inc. brodya@gtlaw.com,
                             NJLitDock@gtlaw.com

Alan J. Brody
                             on behalf of Creditor Bausch Health US LLC f/k/a Valeant Pharmaceuticals North America LLC brodya@gtlaw.com,
                             NJLitDock@gtlaw.com

Alan J. Brody
                             on behalf of Creditor Bausch Health Americas Inc. f/k/a Valeant Pharmaceuticals International brodya@gtlaw.com,
                             NJLitDock@gtlaw.com

Albert Togut
                             on behalf of Interested Party Roger Frankel as Legal Representative for Future Personal Injury Claimants appointed in the
                             Chapter 11 bankruptcy case of Cyprus Mines Corporation altogut@teamtogut.com,
                             eozuna@teamtogut.com;seratner@teamtogut.com;dperson@teamtogut.com

Allen Joseph Underwood, II
                             on behalf of Creditor DeSanto Canadian Class Action Plaintiffs aunderwood@litedepalma.com
                             ajunderwood@ecf.courtdrive.com;grodriguez@litedepalma.com

Allen Joseph Underwood, II
                             on behalf of Attorney Lite DePalma Greenberg & Afandaor LLC aunderwood@litedepalma.com
                             ajunderwood@ecf.courtdrive.com;grodriguez@litedepalma.com

Allen Joseph Underwood, II
                             on behalf of Creditor DiSanto Canadian Class Action Creditors aunderwood@litedepalma.com
                             ajunderwood@ecf.courtdrive.com;grodriguez@litedepalma.com

Amanda Rush
                             on behalf of Plaintiff LTL Management LLC asrush@jonesday.com

Amanda Rush
                             on behalf of Debtor LTL Management LLC asrush@jonesday.com

Andreas Milliaressis
                             on behalf of Interested Party Hartford Accident and Indemnity Company adm@stevenslee.com

Andreas Milliaressis
                             on behalf of Interested Party First State Insurance Company adm@stevenslee.com

Andrew Ambruoso
                             on behalf of Interested Party Imerys Talc Canada Inc. andrew.ambruoso@lw.com andrew-ambruoso-6817@ecf.pacerpro.com

Andrew Ambruoso
                             on behalf of Interested Party Imerys Talc America Inc. andrew.ambruoso@lw.com, andrew-ambruoso-6817@ecf.pacerpro.com

Andrew Ambruoso
                             on behalf of Interested Party Imerys Talc Vermont Inc. andrew.ambruoso@lw.com, andrew-ambruoso-6817@ecf.pacerpro.com

Andrew Craig
                             on behalf of Creditor Allstate Insurance Company acraig@windelsmarx.com

Andrew Golden
                             on behalf of Interested Party Cyprus Mines Corporation agolden@kasowitz.com

Andrew J. Kelly
                             on behalf of Interested Party Blue Cross Blue Shield of Massachusetts Inc. akelly@kbtlaw.com,
                             wsheridan@kbtlaw.com;saudino@kbtlaw.com;tgraga@kbtlaw.com;pschenke@kbtlaw.com
             Case 21-30589-MBK           Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                              Desc
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Date Rcvd: Feb 15, 2022                                       Form ID: pdf903                                                          Total Noticed: 4
Andrew S. Richmond
                            on behalf of Interested Party Williams Hart Boundas Easterby LLP, on behalf of certain personal injury claimants (Williams Hart
                            Plaintiffs) arichmond@pryorcashman.com

Andrew T. Frankel
                            on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                            afrankel@stblaw.com

Andy Frankel
                            on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                            afrankel@stblaw.com

Anthony Sodono, III
                            on behalf of Creditor Alishia Landrum Committee Member asodono@msbnj.com

Arthur Abramowitz
                            on behalf of Interested Party Massey & Gail LLP aabramowitz@shermansilverstein.com
                            jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com

Arthur Abramowitz
                            on behalf of Creditor Committee Official Committee of Talc Claimants II aabramowitz@shermansilverstein.com
                            jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com

Arthur Abramowitz
                            on behalf of Interested Party Bailey & Glasser LLP aabramowitz@shermansilverstein.com
                            jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com

Autumn D. Highsmith
                            on behalf of Interested Party State of Texas autumn.highsmith@oag.texas.gov

Bill Graham
                            on behalf of Attorney Wallace & Graham P.A. bgraham@wallacegraham.com

Brad B. Erens
                            on behalf of Debtor LTL Management LLC bberens@jonesday.com

Brad B. Erens
                            on behalf of Plaintiff LTL Management LLC bberens@jonesday.com

Brad Jeffrey Axelrod
                            on behalf of Debtor LTL Management LLC baxelrod@wmd-law.com

Brad Jeffrey Axelrod
                            on behalf of Plaintiff LTL Management LLC baxelrod@wmd-law.com

Brett Kahn
                            on behalf of Spec. Counsel McCarter & English LLP bkahn@mccarter.com

Brian J. McCormick, Jr.
                            on behalf of Interested Party Ross Feller Casey LLP bmccormick@rossfellercasey.com earend@rossfellercasey.com

Brian W. Hofmeister
                            on behalf of Attorney Law Firm of Brian W. Hofmeister of behalf of various claimants bwh@hofmeisterfirm.com,
                            j119@ecfcbis.com

C. Richard Rayburn, Jr.
                            on behalf of Plaintiff LTL Management LLC rrayburn@rcdlaw.net jrobinson@rcdlaw.net

Caitlin K. Cahow
                            on behalf of Debtor LTL Management LLC ccahow@jonesday.com

Carol A. Slocum
                            on behalf of Creditor Ad Hoc Mesothelioma Committee cslocum@klehr.com lclark@klehr.com

Carolyn Lachman
                            on behalf of Creditor Pension Benefit Guaranty Corporation lachman.carolyn@pbgc.gov efile@pbgc.gov

Cary Joshi
                            on behalf of Creditor Committee Official Committee of Talc Claimants II cjoshi@baileyglasser.com

Charles Michael Rubio
                            on behalf of Interested Party OnderLaw LLC crubio@parkinslee.com, 7485062420@filings.docketbird.com

Charles Michael Rubio
                            on behalf of Creditor OnderLaw LLC crubio@parkinslee.com, 7485062420@filings.docketbird.com

Chelsea Corey
                            on behalf of Interested Party Bestwall LLC ccorey@kslaw.com

Christopher K. Kiplok
                            on behalf of Interested Party Imerys SA kiplok@hugheshubbard.com

Christopher M. Placitella
           Case 21-30589-MBK             Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                             Desc
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District/off: 0312-3                                          User: admin                                                               Page 4 of 14
Date Rcvd: Feb 15, 2022                                       Form ID: pdf903                                                          Total Noticed: 4
                            on behalf of Interested Party Cohen Placitella & Roth, P.C. cplacitella@cprlaw.com, cmcnelis@cprlaw.com

Christopher M. Placitella
                            on behalf of Attorney Christopher M. Placitella cplacitella@cprlaw.com cmcnelis@cprlaw.com

Christopher M. Placitella
                            cplacitella@cprlaw.com cmcnelis@cprlaw.com

Christopher Vincent Tisi
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation ctisis@levinlaw.com

Clinton E. Cameron
                            on behalf of Interested Party The Continental Insurance Company Clinton.Cameron@clydeco.us

Cole Hayes
                            on behalf of Interested Party Steering Committee in the In re: Johnson & Johnson Talcum Powder Products Marketing Sales
                            Practices and Products Liability Multi District Litigation cole@colehayeslaw.com

Cole Hayes
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation cole@colehayeslaw.com

Colin R. Robinson
                            on behalf of Interested Party Arnold & Itkin LLP crobinson@pszjlaw.com

Colin R. Robinson
                            on behalf of Creditor Arnold & Itkin LLP crobinson@pszjlaw.com

Daniel Lapinski
                            on behalf of Interested Party Motley Rice LLC dlapinski@motleyrice.com

Daniel Stolz
                            on behalf of Interested Party Bailey & Glasser LLP dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Spec. Counsel Massey & Gail LLP dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Attorney Genova Burns LLC dstolz@genovaburns.com dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Spec. Counsel Parkins Lee & Rubio LLP dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Creditor Committee Official Committee of Talc Claimants dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Interested Party Otterbourg P.C dstolz@genovaburns.com dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Creditor Proposed Local Counsel to Official Committee of Talc Claimants for LTL Management LLC
                            dstolz@genovaburns.com, dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Interested Party Brown Rudnick LLP dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Creditor Committee Committee of Talc Claimants dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Creditor Committee Official Committee of Talc Claimants I dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                            on behalf of Interested Party Committee of Talc Claimants dstolz@genovaburns.com
                            dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel B. Prieto
                            on behalf of Debtor LTL Management LLC dbprieto@jonesday.com

Daniel B. Prieto
                            on behalf of Plaintiff LTL Management LLC dbprieto@jonesday.com

Daniel H. Charest
                            on behalf of Creditor Julia Lathrop dcharest@burnscharest.com manderson@burnscharest.com;mkweik@burnscharest.com
           Case 21-30589-MBK          Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                              Desc
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Date Rcvd: Feb 15, 2022                                     Form ID: pdf903                                                          Total Noticed: 4
Daniel H. Charest
                          on behalf of Creditor Daniel Mercer dcharest@burnscharest.com manderson@burnscharest.com;mkweik@burnscharest.com

Daniel H. Charest
                          on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                          Marketing Sales Practices and Products Liability Multi-District Litigation dcharest@burnscharest.com,
                          manderson@burnscharest.com;mkweik@burnscharest.com

Daniel Robert Lapinski
                          on behalf of Interested Party Motley Rice LLC dlapinski@motleyrice.com hfonseca@motleyrice.com,kdotson@motleyrice.com

Danielle Spinelli
                          on behalf of Interested Party Three Crowns Insurance Company Danielle.Spinelli@wilmerhale.com

Danielle Spinelli
                          on behalf of Interested Party Rio Tinto America Inc. Danielle.Spinelli@wilmerhale.com

Darren McDowell
                          on behalf of Interested Party Fears Nachawati PLLC dmcdowell@fnlawfirm.com
                          mn@fnlawfirm.com;jwoodman@essexrichards.com;hculp@essexrichards.com;cbritton@fnlawfirm.com

David Christian
                          on behalf of Creditor The Continental Insurance Company dchristian@davodcjrostoamattprmeus.com

David Christian
                          on behalf of Interested Party The Continental Insurance Company dchristian@davodcjrostoamattprmeus.com

David Rosner
                          on behalf of Interested Party Cyprus Mines Corporation drosner@kasowitz.com courtnotices@kasowitz.com

David J. Molton
                          on behalf of Creditor Committee Official Committee of Talc Claimants dmolton@brownrudnick.com
                          hcohen@brownrudnick.com

David J. Molton
                          on behalf of Creditor Committee Committee of Talc Claimants dmolton@brownrudnick.com hcohen@brownrudnick.com

Dennis Geier
                          on behalf of Interested Party Cohen Placitella & Roth, P.C. dgeier@cprlaw.com, cmcnelis@cprlaw.com

Denyse F. Clancy
                          on behalf of Interested Party Kazan McClain, Satterley & Greenwood, PLC dclancy@kazanlaw.com

Derek J. Baker
                          on behalf of Interested Party Cyprus Mines Corporation dbaker@reedsmith.com

Donald W Clarke
                          on behalf of Interested Party Parkins Lee & Rubio LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Attorney Genova Burns LLC dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Interested Party Bailey & Glasser LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Interested Party Otterbourg P.C dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Spec. Counsel Parkins Lee & Rubio LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Creditor Proposed Local Counsel to Official Committee of Talc Claimants for LTL Management LLC
                          dclarke@genovaburns.com, dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Creditor Committee Committee of Talc Claimants dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Creditor Committee Official Committee of Talc Claimants dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Interested Party Brown Rudnick LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Spec. Counsel Massey & Gail LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Interested Party Committee of Talc Claimants dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

Donald W Clarke
                          on behalf of Creditor Committee Official Committee of Talc Claimants I dclarke@genovaburns.com dclarke@ecf.inforuptcy.com
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Donald W Clarke
                          on behalf of Interested Party Massey & Gail LLP dclarke@genovaburns.com dclarke@ecf.inforuptcy.com

E. Richard Dressel
                          on behalf of Interested Party Erwin Chemerinsky rdressel@lexnovalaw.com

Eamonn O'Hagan
                          on behalf of Creditor UNITED STATES OF AMERICA eamonn.ohagan@usdoj.gov

Eileen McCabe
                          on behalf of Interested Party Starr Indemnity & Liability Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party Lexington Insurance Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party ASR Schadeverzekering N.V. eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party The North River Insurance Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party AIG Property Casualty Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party AIG Europe S.A. eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party N.V. Schadeverzekeringsmaatschappij Maas Lloyd eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party The Insurance Company of the State of Pennsylvania eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party National Union Fire Insurance Company of Pittsburgh PA eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party AIU Insurance Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party RheinLand Versicherungen eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party Atlanta International Insurance Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party Granite State Insurance Company eileen.mccabe@mendes.com

Eileen McCabe
                          on behalf of Interested Party New Hampshire Insurance Company eileen.mccabe@mendes.com

Emil A. Kleinhaus
                          on behalf of Interested Party Cyprus Amax Minerals Company EAKleinhaus@WLRK.com

Erica Villanueva
                          on behalf of Interested Party Rio Tinto America Inc. EVillanueva@fbm.com

Erica Villanueva
                          on behalf of Interested Party Three Crowns Insurance Company EVillanueva@fbm.com

Evan Lazerowitz
                          on behalf of Creditor Committee Official Committee of Talc Claimants II elazerowitz@cooley.com
                          efiling-notice@ecf.pacerpro.com;jbrown@cooley.com;mklein@cooley.com;rkanowitz@cooley.com

Felice R. Yudkin
                          on behalf of Interested Party Claimants represented by the Barnes Law Group fyudkin@coleschotz.com fpisano@coleschotz.com

Geoffrey S Brounell
                          on behalf of Unknown Role Type Reuters News & Media Inc. geoffreybrounell@dwt.com

Gregory Plotko
                          on behalf of Interested Party Pacific Employers Insurance Company gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
                          on behalf of Interested Party Westchester Fire Insurance Company gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
                          on behalf of Interested Party Federal Insurance Company gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
                          on behalf of Interested Party Great Northern Insurance Company gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
             Case 21-30589-MBK          Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                                Desc
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                            on behalf of Interested Party ACE Property and Casualty Insurance Company gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
                            on behalf of Interested Party Central National Insurance Company of Omaha gplotko@crowell.com mschneider@rkollp.com

Gregory Plotko
                            on behalf of Interested Party Century Indemnity Company gplotko@crowell.com mschneider@rkollp.com

Gregory M. Gordon
                            on behalf of Debtor LTL Management LLC gmgordon@jonesday.com

Gregory M. Gordon
                            on behalf of Plaintiff LTL Management LLC gmgordon@jonesday.com

Heather Elizabeth Simpson
                            on behalf of Interested Party TIG Insurance Company heather.simpson@kennedyscmk.com

Heather Elizabeth Simpson
                            on behalf of Interested Party Everest Reinsurance Company heather.simpson@kennedyscmk.com

Isley M. Gostin
                            on behalf of Interested Party Three Crowns Insurance Company Isley.Gostin@wilmerhale.com

Isley M. Gostin
                            on behalf of Interested Party Rio Tinto America Inc. Isley.Gostin@wilmerhale.com

James Francis Green
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation jgreen@ashcraftlaw.com,
                            tnguyen@ashcraftlaw.com;nparfitt@ashcraftlaw.com;plyons@ashcraft.com;twaters@ashcraftlaw.com

James M. Jones
                            on behalf of Debtor LTL Management LLC jmjones@jonesday.com

James N. Lawlor
                            on behalf of Spec. Counsel Patterson Belknap Webb & Tyler LLP jlawlor@wmd-law.com

James N. Lawlor
                            on behalf of Plaintiff LTL Management LLC jlawlor@wmd-law.com

James N. Lawlor
                            on behalf of Debtor LTL Management LLC jlawlor@wmd-law.com

Janet A. Shapiro
                            on behalf of Interested Party Employers Mutual Casualty Company jshapiro@shapirolawfirm.com

Janet A. Shapiro
                            on behalf of Interested Party Scottsdale Insurance jshapiro@shapirolawfirm.com

Janet A. Shapiro
                            on behalf of Interested Party Employers Ins. of Wausau jshapiro@shapirolawfirm.com

Janet A. Shapiro
                            on behalf of Interested Party Nationwide Indemnity jshapiro@shapirolawfirm.com

Janet A. Shapiro
                            on behalf of Interested Party Employers Ins Co of Wausau jshapiro@shapirolawfirm.com

Janet A. Shapiro
                            on behalf of Interested Party Employers Ins. Company of Wausau jshapiro@shapirolawfirm.com

Jason D Angelo
                            on behalf of Interested Party Cyprus Mines Corporation jangelo@reedsmith.com

Jeffrey M. Sponder
                            on behalf of U.S. Trustee U.S. Trustee jeffrey.m.sponder@usdoj.gov jeffrey.m.sponder@usdoj.gov

Jennifer S. Feeney
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation jfeeney@otterbourg.com

Jerome Howard Block
                            on behalf of Interested Party Levy Konigsberg LLP jblock@levylaw.com

Jerome Howard Block
                            on behalf of Interested Party Talc Claimants jblock@levylaw.com

Joel Rhine
                            on behalf of Interested Party Clients of Clifford Law Offices P.C., and Taft Stettinius & Hollister, LLP slc@rhinelawfirm.com

John Bougiamas
                            on behalf of Interested Party Steering Committee in the In re: Johnson & Johnson Talcum Powder Products Marketing Sales
                            Practices and Products Liability Multi District Litigation jbougiamas@otterbourg.com,
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                          ryan@otterbourg.com;jfeeney@otterbourg.com;mmaizel@otterbourg.com;jhildebrandt@otterbourg.com

John Bougiamas
                          on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                          Marketing Sales Practices and Products Liability Multi-District Litigation jbougiamas@otterbourg.com,
                          ryan@otterbourg.com;jfeeney@otterbourg.com;mmaizel@otterbourg.com;jhildebrandt@otterbourg.com

John Maloney
                          on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                          jmaloney@lawgmm.com

John A. Baden, IV
                          on behalf of Interested Party Motley Rice LLC jbaden@motleyrice.com

John A. Baden, IV
                          on behalf of Other Prof. Epiq Corporate Restructuring LLC jbaden@motleyrice.com

John A. Bougiamas
                          on behalf of Interested Party Committee of Talc Claimants jbougiamas@oshr.com
                          jfeeney@otterbourg.com;awilliams@otterbourg.com;dfiorillo@otterbourg.com

John C. Woodman
                          on behalf of Attorney John C. Woodman jwoodman@essexrichards.com
                          DDiMatteo@essexrichards.com;SMarak@essexrichards.com

John D. Green
                          on behalf of Interested Party Rio Tinto America Inc. JGreen@fbm.com

John D. Green
                          on behalf of Interested Party Three Crowns Insurance Company JGreen@fbm.com

John F. Bracaglia, Jr.
                          on behalf of Creditor Jeanne Stephenson brokaw@centraljerseylaw.com

John M. August
                          on behalf of Creditor Vincent Hill jaugust@saiber.com cmiller@saiber.com

John M. August
                          on behalf of Creditor Kristie Lynn Doyle jaugust@saiber.com cmiller@saiber.com

John R. Miller, Jr.
                          on behalf of Plaintiff LTL Management LLC jmiller@rcdlaw.net

John R. Miller, Jr.
                          on behalf of Debtor LTL Management LLC jmiller@rcdlaw.net

Jonathan I. Rabinowitz
                          on behalf of Attorney J. Maria Glover jrabinowitz@rltlawfirm.com jcoleman@rltlawfirm.com

Jonathan S Massey
                          on behalf of Interested Party Massey & Gail LLP jloper@masseygail.com

Joseph Satterley
                          on behalf of Interested Party Kazan McClain, Satterley & Greenwood, PLC jsatterley@kazanlaw.com

Joseph F. Rice
                          on behalf of Interested Party Motley Rice LLC jrice@motleyrice.com

Joseph Francis Pacelli
                          on behalf of Debtor LTL Management LLC jpacelli@wmd-law.com

Joseph Francis Pacelli
                          on behalf of Plaintiff LTL Management LLC jpacelli@wmd-law.com

Judy D. Thompson
                          on behalf of Interested Party Barnes Law Group LLC jdt@jdthompsonlaw.com, sxb@jdthompsonlaw.com

Katherine Scherling
                          on behalf of Interested Party RheinLand Versicherungen katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party ASR Schadeverzekering N.V. katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party AIU Insurance Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party N.V. Schadeverzekeringsmaatschappij Maas Lloyd katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party Lexington Insurance Company katherine.scherling@katten.com

Katherine Scherling
          Case 21-30589-MBK           Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                              Desc
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                          on behalf of Interested Party The North River Insurance Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party AIG Property Casualty Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party Atlanta International Insurance Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party Granite State Insurance Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party New Hampshire Insurance Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party The Insurance Company of the State of Pennsylvania katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party Starr Indemnity & Liability Company katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party National Union Fire Insurance Company of Pittsburgh PA katherine.scherling@katten.com

Katherine Scherling
                          on behalf of Interested Party AIG Europe S.A. katherine.scherling@katten.com

Kathleen A Frazier
                          on behalf of Debtor LTL Management LLC kfrazier@shb.com

Kelly D. Curtin
                          on behalf of Interested Party Rio Tinto America Inc. kdcurtin@pbnlaw.com
                          mpdermatis@pbnlaw.com;pnbalala@pbnlaw.com;cpmazza@pbnlaw.com;jmoconnor@pbnlaw.com

Kelly D. Curtin
                          on behalf of Interested Party Rio Tinto America Holdings Inc. kdcurtin@pbnlaw.com
                          mpdermatis@pbnlaw.com;pnbalala@pbnlaw.com;cpmazza@pbnlaw.com;jmoconnor@pbnlaw.com

Kelly D. Curtin
                          on behalf of Interested Party Rio Tinto Services Inc. kdcurtin@pbnlaw.com
                          mpdermatis@pbnlaw.com;pnbalala@pbnlaw.com;cpmazza@pbnlaw.com;jmoconnor@pbnlaw.com

Kelly D. Curtin
                          on behalf of Interested Party Three Crowns Insurance Company kdcurtin@pbnlaw.com
                          mpdermatis@pbnlaw.com;pnbalala@pbnlaw.com;cpmazza@pbnlaw.com;jmoconnor@pbnlaw.com

Kelly D. Curtin
                          on behalf of Interested Party Metals & Minerals Insurance Company Pte. Ltd. kdcurtin@pbnlaw.com
                          mpdermatis@pbnlaw.com;pnbalala@pbnlaw.com;cpmazza@pbnlaw.com;jmoconnor@pbnlaw.com

Kelsey Panizzolo
                          on behalf of Interested Party ASR Schadeverzekering N.V. kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party Atlanta International Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party AIG Europe S.A. kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party AIG Property Casualty Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party Starr Indemnity & Liability Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party The North River Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party The Insurance Company of the State of Pennsylvania kelsey.panizzolo@katten.com
                          courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party Granite State Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party New Hampshire Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party N.V. Schadeverzekeringsmaatschappij Maas Lloyd kelsey.panizzolo@katten.com
                          courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party RheinLand Versicherungen kelsey.panizzolo@katten.com courtalertclt@katten.com
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Kelsey Panizzolo
                          on behalf of Interested Party Lexington Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party National Union Fire Insurance Company of Pittsburgh PA kelsey.panizzolo@katten.com
                          courtalertclt@katten.com

Kelsey Panizzolo
                          on behalf of Interested Party AIU Insurance Company kelsey.panizzolo@katten.com courtalertclt@katten.com

Kenneth A. Rosen
                          on behalf of Interested Party Johnson & Johnson krosen@lowenstein.com dclaussen@lowenstein.com

Kenneth A. Rosen
                          on behalf of Interested Party Johnson & Johnson and Johnson & Johnson Consumer Inc. krosen@lowenstein.com
                          dclaussen@lowenstein.com

Konrad Krebs
                          on behalf of Interested Party The Continental Insurance Company konrad.krebs@clydeco.us

Kristen R. Fournier
                          on behalf of Debtor LTL Management LLC kfournier@kslaw.com

Laila Masud
                          on behalf of Interested Party Talc Claimants lmasud@marshackhays.com

Laura Davis Jones
                          on behalf of Creditor Arnold & Itkin LLP ljones@pszjlaw.com

Lauren Bielskie
                          on behalf of U.S. Trustee U.S. Trustee lauren.bielskie@usdoj.gov

Lenard Parkins
                          on behalf of Creditor OnderLaw LLC lparkins@parkinslee.com

Leslie Carol Heilman
                          on behalf of Creditor Albertsons Companies Inc. heilmanl@ballardspahr.com, carbonej@ballardspahr.com

Louis A. Modugno
                          on behalf of Interested Party Atlanta International Insurance Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party AIG Europe S.A. lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party Granite State Insurance Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party New Hampshire Insurance Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party ASR Schadeverzekering N.V. lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party AIG Property Casualty Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party National Union Fire Insurance Company of Pittsburgh PA lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party RheinLand Versicherungen lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party Lexington Insurance Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party Starr Indemnity & Liability Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party The Insurance Company of the State of Pennsylvania lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party N.V. Schadeverzekeringsmaatschappij Maas Lloyd lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party AIU Insurance Company lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party Objecting Insurers lmodugno@tm-firm.com

Louis A. Modugno
                          on behalf of Interested Party The North River Insurance Company lmodugno@tm-firm.com
           Case 21-30589-MBK            Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                              Desc
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Date Rcvd: Feb 15, 2022                                       Form ID: pdf903                                                          Total Noticed: 4
Lyndon Mitchell Tretter
                            on behalf of Plaintiff LTL Management LLC ltretter@wmd-law.com

Lyndon Mitchell Tretter
                            on behalf of Debtor LTL Management LLC ltretter@wmd-law.com

Marc E. Wolin
                            on behalf of Creditor Kristie Lynn Doyle mwolin@saiber.com ccarfagno@saiber.com

Mark P. Robinson, Jr
                            on behalf of Interested Party Talc Claimants mrobinson@robinsonfirm.com

Mark W. Rasmussen
                            on behalf of Debtor LTL Management LLC mrasmussen@jonesday.com

Mary E. Seymour
                            on behalf of Interested Party Johnson & Johnson and Johnson & Johnson Consumer Inc. mseymour@lowenstein.com
                            jkimble@lowenstein.com

Matthew I. W. Baker
                            on behalf of Creditor Proposed Local Counsel to Official Committee of Talc Claimants for LTL Management LLC
                            mbaker@genovaburns.com

Matthew L Tomsic
                            on behalf of Plaintiff LTL Management LLC mtomsic@rcdlaw.net

Matthew L Tomsic
                            on behalf of Debtor LTL Management LLC mtomsic@rcdlaw.net

Melanie Louise Cyganowski
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation mcyganowski@otterbourg.com,
                            awilliams@otterbourg.com

Melanie Louise Cyganowski
                            on behalf of Interested Party Steering Committee in the In re: Johnson & Johnson Talcum Powder Products Marketing Sales
                            Practices and Products Liability Multi District Litigation mcyganowski@otterbourg.com, awilliams@otterbourg.com

Michael Hutchins
                            on behalf of Interested Party Cyprus Mines Corporation mhutchins@kasowitz.com courtnotices@kasowitz.com

Michael E. Collins
                            on behalf of Interested Party Westchester Fire Insurance Company mcollins@manierherod.com

Michael H. Torkin
                            on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                            michael.torkin@stblaw.com

Michael L. Tuchin
                            on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC mtuchin@ktbslaw.com

Michelle A. Parfitt
                            on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                            Marketing Sales Practices and Products Liability Multi-District Litigation mparfitt@ashcraftlaw.com

Mitchell Hausman
                            on behalf of U.S. Trustee U.S. Trustee Mitchell.B.Hausman@usdoj.gov

Mitchell Malzberg
                            on behalf of Interested Party Talc Claimants mmalzberg@mjmalzberglaw.com dlapham@mjmalzberglaw.com

Mitchell Malzberg
                            on behalf of Creditor Various Claimants mmalzberg@mjmalzberglaw.com dlapham@mjmalzberglaw.com

Morton R. Branzburg
                            on behalf of Creditor Ad Hoc Mesothelioma Committee mbranzburg@klehr.com jtaylor@klehr.com;nyackle@klehr.com

Nabil Majed Nachawati, II
                            on behalf of Interested Party Fears Nachawati PLLC MN@fnlawfirm.com

Nancy Isaacson
                            on behalf of Interested Party Motley Rice LLC nisaacson@greenbaumlaw.com

Nathan David Finch
                            on behalf of Interested Party Motley Rice LLC nfinch@motleyrice.com

Nir Maoz
                            on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC nmaoz@ktbslaw.com

P. Leigh O'Dell
                            on behalf of Interested Party Steering Committee in the In re: Johnson & Johnson Talcum Powder Products Marketing Sales
                            Practices and Products Liability Multi District Litigation leigh.odell@beasleyallen.com
           Case 21-30589-MBK          Doc 1524 Filed 02/17/22 Entered 02/18/22 00:11:44                                           Desc
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Patricia M. Kipnis
                          on behalf of Interested Party Committee of Talc Claimants pkipnis@baileyglasser.com mchapman@baileyglasser.com

Paul E. Heath
                          on behalf of Interested Party Cyprus Amax Minerals Company pheath@velaw.com

Paul J. Winterhalter
                          on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC pwinterhalter@offitkurman.com,
                          rbarnhart@offitkurman.com

Paul M. Singer
                          on behalf of Interested Party Cyprus Mines Corporation psinger@reedsmith.com

Paul R. Baynard
                          on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC paul.baynard@offitkurman.com,
                          tonya.helms@offitkurman.com

Paul R. DeFilippo
                          on behalf of Debtor LTL Management LLC pdefilippo@wmd-law.com jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Other Prof. Bates White LLC pdefilippo@wmd-law.com, jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Attorney Rayburn Cooper & Durham P.A pdefilippo@wmd-law.com, jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Attorney Jones Day pdefilippo@wmd-law.com jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Other Prof. AlixPartners LLP pdefilippo@wmd-law.com, jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Attorney Wollmuth Maher & Deutsch LLP pdefilippo@wmd-law.com jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Plaintiff LTL Management LLC pdefilippo@wmd-law.com jgiampolo@wmd-law.com

Paul R. DeFilippo
                          on behalf of Spec. Counsel Weil Gotshal, & Manges, LLP pdefilippo@wmd-law.com, jgiampolo@wmd-law.com

Rachel Ginzburg
                          on behalf of Unknown Role Type The Amici Professors rginzburg@herrick.com

Rachel A. Parisi
                          on behalf of Interested Party Rio Tinto America Holdings Inc. raparisi@pbnlaw.com
                          mpdermatis@pbnlaw.com;cpmazza@pbnlaw.com;sakelly@pbnlaw.com;pnbalala@pbnlaw.com;jmoconnor@pbnlaw.com

Rachel A. Parisi
                          on behalf of Interested Party Rio Tinto Services Inc. raparisi@pbnlaw.com
                          mpdermatis@pbnlaw.com;cpmazza@pbnlaw.com;sakelly@pbnlaw.com;pnbalala@pbnlaw.com;jmoconnor@pbnlaw.com

Rachel A. Parisi
                          on behalf of Interested Party Three Crowns Insurance Company raparisi@pbnlaw.com
                          mpdermatis@pbnlaw.com;cpmazza@pbnlaw.com;sakelly@pbnlaw.com;pnbalala@pbnlaw.com;jmoconnor@pbnlaw.com

Rachel A. Parisi
                          on behalf of Interested Party Rio Tinto America Inc. raparisi@pbnlaw.com
                          mpdermatis@pbnlaw.com;cpmazza@pbnlaw.com;sakelly@pbnlaw.com;pnbalala@pbnlaw.com;jmoconnor@pbnlaw.com

Rachel A. Parisi
                          on behalf of Interested Party Metals & Minerals Insurance Company Pte. Ltd. raparisi@pbnlaw.com
                          mpdermatis@pbnlaw.com;cpmazza@pbnlaw.com;sakelly@pbnlaw.com;pnbalala@pbnlaw.com;jmoconnor@pbnlaw.com

Rachel R Obaldo
                          on behalf of Interested Party State of Texas bk-robaldo@texasattorneygeneral.gov

Rashad Blossom
                          on behalf of Interested Party Joseph McGovern rblossom@blossomlaw.com
                          pogando@blossomlaw.com;R41929@notify.bestcase.com;ecfnotices2018@gmail.com

Rashad Blossom
                          on behalf of Attorney Christopher M. Placitella rblossom@blossomlaw.com
                          pogando@blossomlaw.com;R41929@notify.bestcase.com;ecfnotices2018@gmail.com

Richard A. Schneider
                          on behalf of Interested Party Bestwall LLC dschneider@kslaw.com

Richard Moss Golomb
                          on behalf of Interested Party Golomb Spirt Grunfeld rgolomb@golombhonik.com

Richard Moss Golomb
                          on behalf of Creditor Brandi Carl rgolomb@golombhonik.com
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Robert Novick
                          on behalf of Interested Party Cyprus Mines Corporation rnovick@kasowitz.com

Robert J. Pfister
                          on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC rpfister@ktbslaw.com

Robert W. Hamilton
                          on behalf of Debtor LTL Management LLC rwhamilton@jonesday.com

Robert William Miller
                          on behalf of Interested Party Westchester Fire Insurance Company RMiller@ManierHerod.com

Robin Rabinowitz
                          on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                          rrabinowitz@lawgmm.com

Rochelle Guiton
                          on behalf of Creditor Aleathea Goodins rochelle@dmillerlaw.com

Ross J. Switkes
                          on behalf of Creditor Committee Official Committee of Talc Claimants II rswitkes@shermansilverstein.com

Salvatore Daniele
                          on behalf of Interested Party Rio Tinto America Inc. Sal.Daniele@wilmerhale.com
                          isley.gostin@wilmerhale.com;danielle.spinelli@wilmerhale.com;yolande.thompson@wilmerhale.com

Salvatore Daniele
                          on behalf of Interested Party Three Crowns Insurance Company Sal.Daniele@wilmerhale.com
                          isley.gostin@wilmerhale.com;danielle.spinelli@wilmerhale.com;yolande.thompson@wilmerhale.com

Samuel M. Kidder
                          on behalf of Interested Party Aylstock Witkin, Kreis & Overholtz, PLLC skidder@ktbslaw.com

Sandy Qusba
                          on behalf of Creditor Bausch Health US LLC f/k/a Valeant Pharmaceuticals North America LLC squsba@stblaw.com

Sandy Qusba
                          on behalf of Creditor Bausch Health Companies Inc. f/k/a Valeant Pharmaceuticals International Inc. squsba@stblaw.com

Sandy Qusba
                          on behalf of Creditor Bausch Health Americas Inc. f/k/a Valeant Pharmaceuticals International squsba@stblaw.com

Sarah Meiman
                          on behalf of Creditor Pension Benefit Guaranty Corporation meiman.sarah@pbgc.gov

Sari Blair Placona
                          on behalf of Creditor Alishia Landrum Committee Member splacona@msbnj.com

Seth H. Lieberman
                          on behalf of Interested Party Williams Hart Boundas Easterby LLP, on behalf of certain personal injury claimants (Williams Hart
                          Plaintiffs) slieberman@pryorcashman.com

Sid Garabato
                          on behalf of Other Prof. Epiq Corporate Restructuring LLC sgarabato@epiqglobal.com, rjacobs@ecf.epiqsystems.com

Simon J. Torres
                          on behalf of Creditor Pension Benefit Guaranty Corporation torres.simon@pbgc.gov efile@pbgc.gov

Sommer Leigh Ross
                          on behalf of Creditor Republic Indemnity Company of America slross@duanemorris.com AutoDocketWILM@duanemorris.com

Stephen M. Packman
                          on behalf of Interested Party Roger Frankel as Legal Representative for Future Personal Injury Claimants appointed in the
                          Chapter 11 bankruptcy case of Cyprus Mines Corporation spackman@archerlaw.com,
                          dleney@archerlaw.com,ahuber@archerlaw.com

Stephen T. Roberts
                          on behalf of Interested Party Clients of Mendes & Mount LLP stephen.roberts@mendes.com

Stephen V. Gimigliano
                          on behalf of Interested Party Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
                          sgimigliano@lawgmm.com

Steven Abramowitz
                          on behalf of Interested Party Cyprus Amax Minerals Company sabramowitz@velaw.com
                          mmoran@velaw.com;kgrissel@velaw.com;tmitsch@velaw.com;kduchesne@velaw.com

Steven B Smith
                          on behalf of Unknown Role Type The Amici Professors ssmith@herrick.com courtnotices@herrick.com;lporetsky@herrick.com

Thomas Pitta
                          on behalf of Creditor PTI Royston LLC tpitta@emmetmarvin.com
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Thomas Pitta
                          on behalf of Creditor PTI Union LLC tpitta@emmetmarvin.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Kazan McClain, Satterley & Greenwood, PLC notice@waldrepwall.com,
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Kirk Smith notice@waldrepwall.com 8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Kazan McClain, Satterley & Greenwood notice@waldrepwall.com,
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Levy Konigsberg LLP notice@waldrepwall.com
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Ruckdeschel Law Firm LLC notice@waldrepwall.com,
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Weitz & Luxenberg P.C. notice@waldrepwall.com
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

Thomas W. Waldrep, Jr.
                          on behalf of Interested Party Maune Raichle Hartley French & Mudd LLC notice@waldrepwall.com,
                          8898@notices.nextchapterbk.com;khayden@waldrepwall.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


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